 

AO 442 (Rev. L/L 1) Arrest Warrant ,

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UNITED STATES DISTRICT COURT

 

for the
Middle District of Pennsylvania .
United States of America
V. )

)  CaseNo. 3: zscridiVyy Kee AL Ep

JOSEPH ATSUS ) SB, -

“ALP?
b, YON 15 WE
ER 23
Defendant dD
\ ARREST WARRANT ERK
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) ‘Joseph Atsus '

who is accused of an offense or violation based on the following document filed with the court:

>

 

. & Indictment © Superseding Indictment © Information © Superseding Information © Complaint
© Probation Violation Petition OC Supervised Release Violation Petition Violation Notice © Order of the Court
This offense is briefly described as follows:

18 USC §371 Conspiracy to Commit Theft of Major Artwork, Conceallment and Disposal of Major Artwork and Interstate

Transportation of Stolen Property
18 USC §668 Theft of Major Artwork

// lhe “oe
City and states Scranton, Pennsylvania Sylvia C. Murphy, Deputy Clerk

* Printed name and title

 

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Returh

 

This warrant was received on (dare) G/ D/2. % , and the person was arrested on (date) G/ £3, 2 3

at (city and state) WILK Ee 5S -KAR#R Ey P.

pate: 6/16/22 GE Ca

Arresting officer's signature

x) LAVELLESDUS/1

Prit ifed name and title

 

 
